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                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


            IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ALABAMA
                      MIDDLE DIVISION

JOSHUA OTWELL, an individual, )
DANNA LEE OTWELL, an          )
   individual,                )
                              )
Plaintiffs,                   )        Civil Action No.:
                              )
v.                            )        4:19-cv-01120-ACA
                              )
HOME POINT FINANCIAL          )
   CORP., a Corporation;      )        Oral Argument Requested
                              )
Defendant.                    )


  PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE [DOC. 51 ] TO
 PLAINTIFF’S MOTION TO RECONSIDER OR TO ALTER OR AMEND
[DOC. 48] ITS ORDER AND PARTIAL SUMMARY JUDGMENT [DOC. 41]
              AND MEMORANDUM OPINION [DOC. 40]



                                 Respectfully Submitted,

                                  /s/M. Stan Herring
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I.    Lodge Was In Fact a Change in the Standard Applied to Mental
      Anguish Damages.
      While Defendant claims Lodge does not make any change to the evidentiary

standard for mental anguish damages, the Lodge Court recognized that it conflicted

with precedent so it carved out the bankruptcy automatic stay.           Expressly

acknowledging the change, Lodge stated:

      We conclude that Marable v. Walker,704 F.2d 1219, 1220–21 (11th
      Cir.1983) (holding that damages for emotional distress “in cases of
      this type ‘may be inferred from the circumstances as well as proved
      by the testimony’ ”), does not apply here, as it concerns damages for
      emotional distress in cases under the Civil Rights Act of 1866, 42
      U.S.C. §§ 1981 and 1982, and the Fair Housing Act, 42 U.S.C. §
      3601, et seq., not damages for emotional distress for violations of
      an automatic stay during the course of bankruptcy proceedings.
      See Sheely v. MRI Radiology Network, P.A.,505 F.3d 1173, 1180, 1199
      (11th Cir.2007) (providing that emotional distress is a predictable and
      foreseeable consequence of discrimination and that federal courts
      have long found that violations of antidiscrimination statutes
      frequently result in emotional distress to victims).

Lodge v. Kondaur Capital Corp., 750 F.3d 1263, 1273 n.12 (11th Cir.

2014)(Emphasis added). These cases are discussed in the Motion to Reconsider

(Doc. 48 at pags 17 and 21 for Marable in context of other decisions and pages

22-23 for Sheely). The discussion in the motion to reconsider at pages 17-27

addresses the Eleventh Circuit cases that differ from Lodge starting in 1990 and

going through 2019. The Lodge standard is discussed in Plaintiffs’ Motion to

Reconsider at pages 5-6.




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II.   The Standard to Be Applied to Evaluate Mental Anguish Damages


      A. The 4th Circuit Case of Robinson v. Equifax is Not Binding,
         Regardless, the Otwells met the Robinson standard

      Defendant cites Robinson v. Equifax, 560 F.3d (4th Cir. 2009), and suggests

the Otwells improperly ignored this FCRA decision which discusses emotional

distress (Doc. 51 at 3-5). First, to the undersigned’s knowledge, Robinson has not

been cited in any reported decision in the Eleventh Circuit except in Your Honor’s

opinion of February 9, 2021.

      Robinson examined a six figure award, a portion of which was for emotional

distress damages. Robinson affirmed the award based upon the testimony at trial.

The court described the testimony as follows:

      In this case, Robinson presented evidence that her mental distress
      manifested itself as headaches, sleeplessness, skin acne, upset
      stomach, and hair loss. Moreover, the testimony of Robinson's
      friends and family members painted a detailed picture of her ongoing
      struggles with Equifax and the emotional toll these events took upon
      her. Illustratively, one of Robinson's co-workers testified that in
      response to her continued problems with Equifax, Robinson "would be
      crying" and "screaming" and often she was "upset . . . [and] stressed."
      (J.A. 799.) Another co-worker recounted that Robinson only
      complained about Equifax and that she was often "visibly upset" as a
      result of the company's conduct. (J.A. 732.) As her mother recalled,
      Robinson was "[d]istraught" and there "were changes in her physical
      appearance. There were changes in her demeanor, her interactions
      with her daughter and her family, [and] friends." (J.A. 1022-23.)

Robinson v. Equifax Information, 560 F.3d 235, 241 (4th Cir. 2009)(Emphasis

added).     Certainly in Robinson there were other witnesses, but were those


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statements conclusory? Were they required or could the plaintiff prove the case

with the plaintiff’s own testimony?

      Let’s look at the “standard” in Robinson. Defendant says on page 4 of its

brief, “This is effectively the same standard applied in Lodge.”         Here is the

“Robinson standard”:

      "Our previous cases establish the type of evidence required to support
      an award for emotional damages." Sloane, 510 F.3d at 503. As we
      recently explained:

      We have warned that not only is emotional distress fraught with
      vagueness and speculation, it is easily susceptible to fictitious and
      trivial claims. For this reason, although specifically recognizing that a
      plaintiff's testimony can provide sufficient evidence to support an
      emotional distress award, we have required a plaintiff to reasonably
      and sufficiently explain the circumstances of the injury and not resort
      to mere conclusory statements. Thus, we have distinguished between
      plaintiff testimony that amounts only to conclusory statements and
      plaintiff testimony that sufficiently articulates true demonstrable
      emotional distress.

Robinson v. Equifax Information, 560 F.3d 235, 241 (4th Cir. 2009)(Emphasis

added). Note the above is the standard that the 4th Circuit applies and it says “[A]

plaintiff’s testimony can provide sufficient evidence to support an emotional

distress award...”   The standard is a plaintiff should not merely rely only

conclusions but must explain the damages.

      We don’t need the Fourth Circuit for this understanding, as there is a body of

case law in the Eleventh Circuit that explains that the standard of a plaintiff’s own




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testimony to support emotional distress damages, outside of bankruptcy stay

violations, is sufficient. See Motion (Doc.48 at 17-26).

      But a quick look at two recent district court opinions citing Robinson or its

predecessor opinion of Sloan are instructive as they are from the Fourth Circuit:

      ...Wood's evidence of emotional damages by itself could allow Wood
      to survive summary judgment. The signed, sworn statements in
      Wood's declaration and his deposition testimony describe "true
      demonstrable emotional distress," and are not simply conclusory
      statements. See, e.g., Sloane , 510 F.3d at 502 (affirming the district
      court's ruling that the jury's emotional distress award was "not an
      unreasonable conclusion from [the] evidence" because the jury could
      have found that the defendant's actions "directly led to the mounting
      frustration and distress that [plaintiff] felt for almost two years").
      Wood's statements under oath detail damaged relationships, lost
      sleep, and feelings of shame, anger, fear, hopelessness, and
      frustration. In light of the clearly settled law in the Fourth Circuit on
      this issue, the Court must deny Credit One's Motion for Summary
      Judgment on the issue of damages.

Wood v. Credit One Bank, 277 F. Supp. 3d 821, 845-46 (E.D. Va. 2017). The

plaintiff Wood’s affidavit, which is the only evidence cited by Plaintiff opposing

summary judgment on emotional distress damages, is attached as Exhibit “A” to

this filing.   It does not contain nearly the detail of the Otwell affidavits.

Nevertheless, the court found it was sufficient even under the Fourth Circuit’s

standard for emotional distress in an FCRA context. This testimony was not

deemed “conclusory” but instead was sufficient to survive summary judgment.

      Additionally, the 2020 decision from the District of Maryland (in the Fourth

Circuit) addressing emotional distress claims under the FDCPA held that


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      While Plaintiff's evidence here only marginally exceeds that
      threshold, it is sufficient to proceed, even if the damages
      ultimately awarded would be minimal. See Thomas v. Smith, Dean
      & Assocs. , No. ELH-10-CV-3441, 2011 WL 2730787, at *4 (D. Md.
      July 12, 2011) ("awards for actual damages are minimal for emotional
      distress absent any indication that mental health treatment has been
      obtained or that the emotional distress has concretely affected a
      plaintiff's personal or professional life" (quoting Ford v. Consigned
      Debts & Collections, Inc. , No. 09-3102 (NLH)(AMD), 2010 WL
      5392643, at *5 (D.N.J. Dec. 21, 2010) ). Notably, in Robinson v.
      Equifax Information Services, LLC , the Fourth Circuit affirmed
      an award of emotional damages to a plaintiff alleging that
      violations of her rights under the FCRA caused her "headaches,
      sleeplessness, skin acne, upset stomach, and hair loss." 560 F.3d
      235, 241 (4th Cir. 2009).

Best v. Fed. Nat'l Mortg. Ass'n, 450 F. Supp. 3d 606, 634-35 (D. Md.

2020)(Emphasis added). In the same way, even if Your Honor feels the Otwells are

not likely to recover significant damages (and we believe they will recover

significant damages), the evidence is sufficient to survive summary judgment and

then it will be up to the Otwells to present compelling evidence at trial.

          B. McLean v GMAC does not change the analysis

      Next Defendant cites McLean v GMAC Mort. Corp., 398 App’x 467, 471

(11th Cir. 2010) for support. This was discussed on pages 23-24 of the motion to

reconsider (Doc. 48). A pro se case was brought with no discussion of the alleged

emotional distress damages in the opinion. Instead the Eleventh Circuit merely

said that damages must be proven and tied to the alleged violations and the pro se

plaintiffs failed to do so. McLean v. GMAC Mortgage Corp., 398 F. App'x 467,



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471-72 (11th Cir. 2010) (“Here, even if we assume arguendo, as the district court

did, that GMAC committed two RESPA violations, we still find that the McLeans

offered no competent evidence demonstrating that any of their alleged injuries

were caused by the said violations. In sum, the McLeans' conclusory allegations

were insufficient to support a claim of emotional distress.”)(Emphasis added).

         C.      Leak v Ocwen is on appeal

         Finally, Defendant cites Judge Haikala’s recent decision in Leak v Ocwen

Loan Servicing, LLC, 2021 WL 310011 (N.D. Ala. Jan. 29, 2021) on pages 6-7.

This case is on appeal to the Eleventh Circuit and is in the mediation process as of

today.       Judge Haikala1 ruled the testimony in deposition by the plaintiffs was

insufficient to establish emotional distress damages. This has been appealed as we

respectfully disagree with this ruling.

         D.      An interesting recent Eleventh Circuit decision on the FDCPA and
                 emotional distress damages to find standing under Spokeo.

         Perhaps a final word on this.         A recent Eleventh Circuit case, albeit

unpublished, sheds some light on this issue. In Kottler v Gulf Coast Collection

Bureau, Inc., No. 20-12239 (11th Cir. Feb. 12, 2021), a plaintiff in an FDCPA

claim survived summary judgment and actually won summary judgment in the

         1
         The motion to reconsider (Doc. 48 at pages 15-17) discusses Judge Haikala’s approach
to emotional distress damages in detail in a separate 2019 decision of Rodriguez v. Gen. Info.
Servs., No. 5:16-cv-01067-MHH, at *22-25 (N.D.Ala. Feb. 19, 2019)




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plaintiff’s favor. The debt collector appealed the plaintiff receiving a summary

judgment and claimed there was a lack of standing as there was no concrete injury.

The Kottler court affirmed the entry of summary judgment against the collector

stating as follows on this issue of damages focusing in on pretty sparse testimony

about emotional distress:

      Kottler suffered a concrete injury that gave her standing to sue
      Gulf Coast for violating the Act. "[S]tanding consists of three
      elements: the plaintiff must have suffered an injury in fact, the
      defendant must have caused that injury, and a favorable decision must
      be likely to redress it." Trichell v. Midland Credit Mgmt., Inc., 964
      F.3d 990, 996 (11th Cir. 2020). An injury in fact consists of four
      elements: the injury must invade a legally protected interest and be
      concrete, particularized, and imminent. Id. Kottler alleged in her
      complaint that she received a letter and telephone calls from Gulf
      Coast that falsely suggested she was liable for medical bills owed by
      her employer for a work-related accident. SeeFla. Stat. § 440.13(2),
      (14). Later, Kottler testified that she was "clustered and jumbled"
      why she was receiving collection calls, the messages "scared" her
      into calling back, and she feared that the company would "ruin
      her credit." Kottler's evidence satisfied each element for an injury
      in fact. Kottler was entitled to avoid communication concerning
      collection of a debt she did not owe, see 15 U.S.C. § 1562e, she
      expended time addressing unwarranted collection calls, see Trichell,
      964 F.3d at 997, and those calls upset her, see id.

Kottler v. Gulf Coast Collection Bureau, Inc., No. 20-12239, at *2-3 (11th Cir. Feb.

12, 2021)(Emphasis added). Now, if at summary judgment it was insufficiently

conclusory to say she was “clustered” and “jumbled” and “scared” and she “feared

that the [collector] would ruin her credit” then standing likely would not have

existed. But the Eleventh Circuit had no issue two months ago recognizing that



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this testimony was sufficient emotional distress to confer standing. Nothing was

said about these statements being conclusory or lacking corroboration. Instead,

the summary judgment was affirmed. Respectfully, this provides insight that the

Eleventh Circuit is not changing the law well established by the 1990s that

emotional distress is not judged under a more stringent standard outside of the

bankruptcy automatic stay context discussed in Lodge.

III.   There Was No “Alternative Trial Procedure” Proposed

       Defendant talks about alternative trial procedures. Doc. 51 at 9-10. The

Otwells are unsure what Defendant is arguing. Instead, Otwells simply and plainly

pointed out the preference for live testimony to be considered on the issue of

emotional distress damages and that by doing so, Your Honor can decide if

sufficient testimony at trial has been submitted to go to the jury. And this greatly

reduces any chance of a new trial.

       This is hardly novel. Instead, in virtually every jury trial the undersigned

have been in -- state and federal court -- the judge has said about some claim or

some defense or some damage, words to the effect of, “We’ll see how this plays

out in testimony and then I’ll decide if this goes to the jury. And the jury may

decide this issue for us anyway if they rule against you on this

claim/defense/damage.”

                                     Conclusion



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      Respectfully, this interlocutory ruling on emotional distress damages should

be vacated and the issue of emotional distress damages taken up at the close of the

Plaintiffs’ evidence, the close of all the evidence, and then, if necessary, at any post

trial motion.


                                        Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 6, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to the following:


Timothy P. Pittman
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Huntsville, Alabama 35801


                                                  /s/ M. Stan Herring
                                                  OF COUNSEL




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                  Exhibit A
         Affidavit of Plaintiff in
Wood v. Credit One Bank, 277 F. Supp. 3d
      821, 845-46 (E.D. Va. 2017)




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